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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 CYNTHIA WARMBIER, et al.,

                         Plaintiffs,
                                                            Civil Action No. 18-977 (BAH)
                         v.
                                                            Chief Judge Beryl A. Howell
 DEMOCRATIC PEOPLE’S REPUBLIC OF
 KOREA,

                         Defendant.




                                              ORDER

          Upon consideration of the plaintiffs’ Motion for Default Judgment and, If Necessary,

Motion for Evidentiary Hearing, ECF No. 16, the related legal memorandum in support thereof,

the exhibits and declarations attached thereto, the evidentiary hearing conducted on December

19, 2018, and the entire record herein, for the reasons stated in the accompanying Memorandum

Opinion issued contemporaneously with this Order, the Court finds that the plaintiffs have

established their “claim[s] or right to relief by evidence satisfactory to the court,” 28 U.S.C. §

1608(e), and it is hereby

          ORDERED that the plaintiffs’ Motion for Default Judgment is GRANTED; and it is

further

          ORDERED that the defendant Democratic People’s Republic of Korea (“North Korea”)

shall be liable for damages in the amount of $501,134,683.80, which shall be allocated in the

following manner:




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   The estate of Otto Warmbier is entitled to the sum of $21,134,683.80 in compensatory

    damages and $150,000,000.00 in punitive damages; and

   Otto Warmbier’s parents Frederick Warmbier and Cynthia Warmbier are each entitled to the

    sum of $15,000,000 in compensatory damages and $150,000,000 in punitive damages; and it

    is further

        ORDERED that the plaintiffs shall, at their own cost and consistent with the

requirements of 28 U.S.C. § 1608(e), send a copy of this Order to the defendant North Korea;

and it is further

        ORDERED that the Clerk of the Court close this case.

        SO ORDERED

        Date: December 24, 2018

        This is a final and appealable Order.

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                                                    BERYL A. HOWELL
                                                    Chief Judge




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